     Case 3:22-cv-01085-MMA-JLB     Document 120            Filed 09/16/24   PageID.4474   Page 1
                                           of 18


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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11     DONIECE DRAKE, individually and on                   Case No. 22-cv-1085-MMA (JLB)
       behalf of all others similarly situated,
12
       et al.,                                              ORDER:
13                                      Plaintiffs,
                                                            (1) GRANTING MOTIONS TO FILE
14     v.                                                   UNDER SEAL;
15
       BAYER HEALTHCARE LLC,                                [Doc. Nos. 87; 94; 102; 108]
16                                     Defendant.           (2) GRANTING MOTION FOR
17                                                          CLASS CERTIFICATION; AND
18                                                          [Doc. No. 90]
19                                                          (3) DENYING MOTIONS FOR
                                                            SANCTIONS
20
21                                                          [Doc. Nos. 104; 107]

22
23          Pending before the Court is Plaintiffs Doniece Drake’s and Deborah Bowling’s
24    (“Plaintiffs”) motion for class certification. Doc. No. 90. Defendant Bayer Healthcare
25    LLC (“Defendant”) filed an opposition, Doc. No. 96, to which Plaintiffs replied, Doc.
26    No. 110. In addition, the Court granted Defendant leave to file a sur-reply, to which the
27    Court also allowed Plaintiffs to respond. Doc. Nos. 117–119. Also pending before the
28    Court are the parties’ respective Rule 11 motions for sanctions, which are fully briefed.


                                                      -1-                        22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB      Document 120        Filed 09/16/24   PageID.4475   Page 2
                                            of 18


 1    Doc. Nos. 104; 107. The Court found the matters suitable for determination on the
 2    papers and without oral argument pursuant to Federal Rule of Civil Procedure 78(b) and
 3    Civil Local Rule 7.1.d.1. See Doc. Nos. 115; 117. For the reasons set forth below, the
 4    Court GRANTS Plaintiffs’ motion for class certification and DENIES the parties’
 5    motions for sanctions.
 6                                         I. BACKGROUND
 7          This case involves Defendant’s popular “One A Day” (“OAD”) line of
 8    multivitamins. Doc. No. 85 (Second Amended Complaint, the “SAC”) ¶ 1. Specifically,
 9    Plaintiffs’ SAC concerns Defendant’s OAD Natural Fruit Bites Multivitamin products
10    (the “Products”), including the following “four varieties: Men’s, Women’s, Men’s 50+,
11    and Women’s 50+.” Id. ¶ 1 n.1. Plaintiffs allege Defendant’s “advertising and marketing
12    campaign is false, deceptive, and misleading” because it holds its Products out as
13    “natural” even though they “contain non-natural, synthetic ingredients.” Id. ¶¶ 1–2.
14          Named Plaintiffs Drake and Bowling are two adult women who purchased
15    Defendant’s Products. See id. ¶¶ 8, 11. Drake purchased the Products in 2020 in retail
16    outlets in Queens, New York, where she is a resident. Id. ¶ 8; Doc. No. 110-4 at 2.
17    Bowling is a resident of Riverside County, California, and she purchased the Products in
18    retail outlets in Los Angeles County, California in or around 2020. Id. ¶ 11; Doc. No.
19    110-5 at 3. Both Named Plaintiffs have stated that they read the word “natural” on the
20    Products’ labels and relied on the word “natural” in purchasing the Products. Id. ¶¶ 9, 12;
21    Doc. No. 110-6 at 3–4; Doc. No. 110-7 at 2–3.
22          Named Plaintiffs bring suit as individuals as well as on behalf of two statewide
23    classes in California and New York. SAC ¶¶ 41–76. The classes that Plaintiffs seek to
24    certify are defined as follows in the instant motion:
25          California Class. All persons who purchased at least one of the following
            Products in the State of California from March 1, 2020, to May 30, 2023:
26
               • One-A-Day Natural Fruit Bites Women’s
27             • One-A-Day Natural Fruit Bites Men’s
28             • One-A-Day Natural Fruit Bites Women’s 50+


                                                   -2-                        22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB            Document 120          Filed 09/16/24    PageID.4476         Page 3
                                                  of 18


 1                 • One-A-Day Natural Fruit Bites Men’s 50+
 2
                New York Class. All persons who purchased at least one of the following
 3              Products in the State of New York from May 31, 2020, to May 30, 2023:
 4                 • One-A-Day Natural Fruit Bites Women’s
                   • One-A-Day Natural Fruit Bites Men’s
 5                 • One-A-Day Natural Fruit Bites Women’s 50+
 6                 • One-A-Day Natural Fruit Bites Men’s 50+
 7
      Doc. No. 90-1 at 14.
 8
                Plaintiffs allege unlawful and deceptive business practices in violation of
 9
      California’s Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750 et seq., on
10
      behalf of Bowling and the California class, deceptive acts and practices in violation of the
11
      New York General Business Law (“GBL”) § 349 on behalf of Drake and the New York
12
      class, and false advertising in violation of the New York GBL § 350 on behalf of Drake
13
      and the New York class. See SAC ¶¶ 41–76.
14
                                                II. LEGAL STANDARD
15
                Federal Rule of Civil Procedure 23 governs class actions. “Before certifying a
16
      class, the trial court must conduct a rigorous analysis to determine whether the party
17
      seeking certification has met the prerequisites of Rule 23.” 1 Mazza v. Am. Honda Motor
18
      Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012) (internal quotation marks omitted). The
19
      burden is on the party seeking certification to show, by a preponderance of the evidence,
20
      that the prerequisites have been met. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,
21
      350 (2011); Conn. Ret. Plans & Trust Funds v. Amgen Inc., 660 F.3d 1170, 1175 (9th
22
      Cir. 2011).
23
                Certification under Rule 23 is a two-step process. The party seeking certification
24
      must first satisfy the four threshold requirements of Rule 23(a): numerosity,
25
      commonality, typicality, and adequacy. Specifically, Rule 23(a) requires a showing that:
26
27
28    1
          Unless otherwise noted, all “Rule” references are to the Federal Rules of Civil Procedure.


                                                           -3-                          22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB            Document 120          Filed 09/16/24    PageID.4477     Page 4
                                                  of 18


 1              (1) the class is so numerous that joinder of all members is impracticable;
 2
                (2) there are questions of law or fact common to the class;
 3
                (3) the claims or defenses of the representative parties are typical of the claims
 4
                or defenses of the class; and
 5
                (4) the representative parties will fairly and adequately protect the interests of
 6
                the class.
 7
      Fed. R. Civ. P. 23(a). The party seeking certification must then establish that one of the
 8
      three grounds for certification applies. See Fed. R. Civ. P. 23(b). As stated in their
 9
      motion, Plaintiffs invoke only Rule 23(b)(3) because they are no longer seeking
10
      injunctive relief.2 See Doc. No. 90-1 at 14 n.2.
11
                Rule 23(b)(3) provides that a class action may be maintained where “the court
12
      finds that the questions of law or fact common to class members predominate over any
13
      questions affecting only individual members, and that a class action is superior to other
14
      available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P.
15
      23(b)(2)(3). The matters pertinent to these findings include:
16
                (A) the class members’ interests in individually controlling the prosecution or
17
                defense of separate actions;
18
                (B) the extent and nature of any litigation concerning the controversy already
19
                begun by or against class members;
20
                (C) the desirability or undesirability of concentrating the litigation of the
21
                claims in the particular forum; and
22
                (D) the likely difficulties in managing a class action.
23
24    Id. In considering a motion for class certification, the substantive allegations of the
25    complaint are accepted as true, but “the court need not accept conclusory or generic
26
27
28    2
          Plaintiffs note that the Products were last sold in May 2023. Doc. No. 90-1 at 14 n.2.


                                                           -4-                           22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB      Document 120         Filed 09/16/24   PageID.4478   Page 5
                                            of 18


 1    allegations regarding the suitability of the litigation for resolution through a class action.”
 2    Hanni v. Am. Airlines, Inc., No. 08-cv-00732-CW, 2010 WL 289297, at *8 (N.D. Cal.
 3    Jan. 15, 2010); see also Jordan v. Paul Fin., LLC, 285 F.R.D. 435, 447 (N.D. Cal. 2012)
 4    (“[Courts] need not blindly rely on conclusory allegations which parrot Rule 23
 5    requirements.”). Accordingly, “the court may consider supplemental evidentiary
 6    submissions of the parties.” Hanni, 2010 WL 289297, at *8; see also Blackie v. Barrack,
 7    524 F.2d 891, 901 n.17 (9th Cir. 1975).
 8          “A court’s class-certification analysis . . . may entail some overlap with the merits
 9    of the plaintiff’s underlying claim.” Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568
10    U.S. 455, 465–66 (2013) (internal quotation marks omitted). However, “Rule 23 grants
11    courts no license to engage in free-ranging merits inquiries at the certification stage.” Id.
12    at 466. “Merits questions may be considered to the extent—but only to the extent—that
13    they are relevant to determining whether the Rule 23 prerequisites for class certification
14    are satisfied.” Id.
15                                III. MOTIONS TO FILE UNDER SEAL
16          The parties have moved to file under seal a number of documents in conjunction
17    with the briefing on Plaintiffs’ motion for class certification. See Doc. Nos. 87, 94, 108.
18    In addition, Defendant has moved to file under seal portions of the deposition transcript
19    of Plaintiff Bowling in connection with its Rule 11 motion for sanctions. Doc. No. 102.
20    “Historically, courts have recognized a ‘general right to inspect and copy public records
21    and documents, including judicial records and documents.’” Kamakana v. City & County
22    of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns,
23    Inc., 435 U.S. 589, 597 & n.7 (1978)). This is “because court records often provide
24    important, sometimes the only, bases or explanations for a court’s decision.” Oliner v.
25    Kontrabecki, 745 F.3d 1024, 1025 (9th Cir. 2014) (quotation omitted). Accordingly,
26    when considering a sealing request, “a strong presumption in favor of access” is generally
27    a court's “starting point.” United States v. Bus. of Custer Battlefield Museum & Store,
28    658 F.3d 1188, 1194 (9th Cir. 2011) (quotation omitted). That presumption can be


                                                    -5-                        22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB      Document 120         Filed 09/16/24   PageID.4479   Page 6
                                            of 18


 1    overcome only by a showing of a “compelling reason,” that “outweighs the general
 2    history of access and the public policies favoring disclosure.” Id. at 1194–95.
 3          “Despite this strong preference for public access,” courts have “carved out an
 4    exception” for certain court filings. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d
 5    1092, 1097 (9th Cir. 2016) (quotation omitted). Filings that are not “more than
 6    tangentially related to the merits of a case” need only satisfy “the less exacting ‘good
 7    cause’ standard” of Federal Rule of Civil Procedure 26(c). Id. The “good cause”
 8    standard requires a “particularized showing” that “specific prejudice or harm will result”
 9    if the information is disclosed. Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307
10    F.3d 1206, 1210–11 (9th Cir. 2002) (citation omitted); see also Fed. R. Civ. P. 26(c).
11    “Unless the denial of a motion for class certification would constitute the death knell of a
12    case, the vast majority of courts within this Circuit treat motions for class certification as
13    non-dispositive motions to which the ‘good cause’ sealing standard applies.” Ramirez v.
14    GEO Grp., No. 18CV2136-LAB-MSB, 2019 WL 6782920, at *3 (S.D. Cal. Dec. 11,
15    2019) (quotation omitted).
16          However, some courts have recognized that the good cause standard may not be
17    appropriate where a class certification motion is effectively dispositive because the stakes
18    of the litigation are such that proceeding individually would not be viable from a practical
19    perspective, and that in such circumstances a party must present compelling reasons for
20    sealing. See, e.g., In re High–Tech Emp. Antitrust Litig., 2013 WL 5486230, at *2 n.1
21    (citing Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266 (11th Cir. 2000) ); see also
22    In re Google Inc. Gmail Litig., No. 13-MD-02430-LHK, 2014 WL 10537440, at *3 (N.D.
23    Cal. Aug. 6, 2014) (holding that the case at issue “present[ed] such a circumstance”).
24    Although Plaintiffs have not indicated that the denial of their motion for class
25    certification would constitute the death knell of the case, the Court finds that this is such
26    a case because the Products sold for significantly less than the filing fee to bring an action
27    in this Court, and therefore, individual litigation would not be practical and class
28


                                                    -6-                        22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB          Document 120          Filed 09/16/24    PageID.4480       Page 7
                                                of 18


 1    certification would be effectively dispositive. Accordingly, the parties must show
 2    particularized compelling reasons to seal documents.
 3           Here, the documents attached to and paragraphs referenced in the parties’ briefing
 4    on Plaintiff’s motion for class certification include personal information of Named
 5    Plaintiffs and information from third-party Circana Inc. and Defendant that is the type “of
 6    business information that might harm a litigant’s competitive standing” if they were made
 7    publicly available. Nixon, 435 U.S. at 598 (citation omitted). The Court finds that
 8    compelling reasons have been shown to seal the business information of Circana Inc. and
 9    Defendant, as well as Plaintiffs’ personal information. Therefore, the Court GRANTS
10    the parties’ motions to seal.3 However, as seen below, the Court does rely on certain
11    facts contained in the sealed documents that relate to numerosity and materiality. The
12    public has a strong interest in the disclosure of these facts and compelling reasons for
13    their confidentiality do not exist.
14                                               IV. DISCUSSION
15           As explained below, the Court finds that Plaintiffs have satisfied the standards set
16    forth in Rule 23(a) and Rule 23(b)(3).
17    A.     Rule 23(a)
18           Rule 23(a) enumerates four prerequisites for class certification, referred to as
19    (1) numerosity, (2) commonality, (3) typicality, and (4) adequacy.
20           1.      Numerosity
21           Rule 23(a)(1) requires that the “the class is so numerous that joinder of all
22    members is impracticable.” Fed. R. Civ. P. 23(a)(1). The party seeking certification
23    “do[es] not need to state the exact number of potential class members, nor is a specific
24    number of class members required for numerosity.” In re Rubber Chemicals Antitrust
25
26
      3
        The Court’s ruling on the sealing of these documents and this information only applies at this stage in
27    the proceedings and to the documents and briefing portions currently filed on the docket and has no
      bearing on the sealing of these documents or information at a later stage in the proceedings.
28


                                                         -7-                           22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB       Document 120        Filed 09/16/24   PageID.4481    Page 8
                                             of 18


 1    Litig., 232 F.R.D. 346, 350 (N.D. Cal. 2005). However, courts generally find that
 2    numerosity is satisfied if the class includes forty or more members. See Villalpando v.
 3    Exel Direct Inc., 303 F.R.D. 588, 605–06 (N.D. Cal. 2014); In re Facebook, Inc., PPC
 4    Adver. Litig., 282 F.R.D. 446, 452 (N.D. Cal. 2012). Here, Plaintiffs contend that the
 5    proposed classes consist of “thousands” of members. Doc. No. 89 at 17. In addition,
 6    Defendant does not dispute that the proposed classes satisfy the numerosity requirement.
 7    Therefore, the Court finds that this element has been satisfied.
 8          2.     Commonality
 9          Rule 23(a)(2) requires questions of law or fact common to the class. According to
10    Plaintiffs, common issues include whether Defendant’s “natural” representation on its
11    Products’ labels was deceptive and likely to deceive the public. Doc. No. 90-1 at 18; see
12    Wiener v. Dannon Co., Inc., 255 F.R.D. 658, 664–65 (C.D.Cal.2009) (“The proposed
13    class members clearly share common legal issues regarding [Defendant’s] alleged
14    deception and misrepresentations in its advertising and promotion of the Products.”).
15          Defendant contends that commonality fails because individual issues predominate
16    over common issues. Doc. No. 96 at 19. Because this argument overlaps with the Rule
17    23(b)(3) predominance analysis, the Court addresses it below, concluding that Plaintiffs
18    have demonstrated both commonality and predominance.
19          3.     Typicality and Adequacy
20          Typicality requires that the claims or defenses of the representative parties be
21    typical of the claims or defenses of the class. Fed. R. Civ. P. 23(a)(3). Adequacy of
22    representation requires that the representative parties will fairly and adequately protect
23    the interests of the class. Fed. R. Civ. P. 23(a)(4). Adequacy is satisfied where
24    (i) counsel for the class is qualified and competent to vigorously prosecute the action, and
25    (ii) the interests of the proposed class representatives are not antagonistic to the interests
26    of the class. See Johns v. Bayer Corp., 280 F.R.D. 551, 557 (S.D. Cal. 2012).
27          Here, Plaintiffs claim typicality is met because they and the proposed class assert
28    exactly the same claim, arising from the same course of conduct—the “natural”


                                                    -8-                        22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB      Document 120        Filed 09/16/24   PageID.4482    Page 9
                                            of 18


 1    representation on the Products’ labels. Doc. No. 90-1 at 26. Likewise, Plaintiffs claim
 2    adequacy is met because their interests and class members’ interests are fully aligned in
 3    determining whether the Products’ labels were likely to deceive a reasonable consumer.
 4    Id. at 27. In addition, Plaintiffs note that they have been engaged in the litigation,
 5    responding to multiple discovery requests and attending depositions. Id. at 28.
 6           Defendant argues Plaintiffs are atypical and inadequate. Doc. No. 96 at 14–17.
 7    Defendants assert that it is “unlikely” that Plaintiffs purchased the Products, the word
 8    “natural” on the labels “was not material” to Plaintiffs’ purchasing decisions, and that
 9    Plaintiffs are “overwhelmingly ignoran[t] regarding the nature of this action.” Id. at 14–
10    17. However, as Plaintiffs note, they testified multiple times that they purchased the
11    Products and that they purchased the Products because of the “natural” representation on
12    the labels. Doc. Nos. 110 at 3–4; 110-6; 110-7. This is enough to “assure that the
13    interest of the named representative aligns with the interests of the class.” Hanon v.
14    Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). Typicality may be a bar to
15    certification if other members would suffer because the named plaintiffs would be
16    “preoccupied with defenses unique to” them. Just Film, Inc. v. Buono, 847 F.3d 1108,
17    1116 (9th Cir. 2017) (quoting Hanon, 976 F.2d at 508). That is not the situation here. In
18    addition, the Court does not find that this is a case where Named Plaintiffs “are startlingly
19    unfamiliar with the case.” Dufour v. Be LLC, 291 F.R.D. 413, 419 (N.D. Cal. 2013)
20    (internal quotations omitted). And in any event, objections to adequacy based on a
21    named representative’s alleged ignorance are disfavored. See Surowitz v. Hilton Hotels
22    Corp., 383 U.S. 363, 370–74 (1966).
23           Defendant also argues that Plaintiffs’ counsel are inadequate. Doc. No. 96 at 17–
24    18. However, the Court finds that the complained-of behaviors, such as certain discovery
25    violations, do not rise to a level that suggest Plaintiffs’ counsel are inadequate given that
26    counsel has ample experience with consumer class actions and no conflicts with the
27    proposed classes. Accordingly, the Court finds that typicality and adequacy have been
28    met.


                                                   -9-                        22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB       Document 120        Filed 09/16/24   PageID.4483    Page
                                           10 of 18


 1    B.    Rule 23(b)(3)
 2          In addition to the prerequisites set forth in Rule 23(a), a class must be maintainable
 3    under Rule 23(b). Under Rule 23(b)(3), certification is appropriate if: (1) questions of
 4    law or fact common to the members of the class predominate over any questions affecting
 5    only individual members; and (2) a class action is superior to other available methods for
 6    the fair and efficient adjudication of the controversy. Fed. R. Civ. P. 23(b)(3).
 7          1.     Predominance
 8          “In order to satisfy the predominance requirement, a plaintiff must demonstrate
 9    that the claims are ‘capable of proof at trial through evidence that is common to the class
10    rather than individual to its members.’” Campion v. Old Republic Home Prot. Co., 272
11    F.R.D. 517, 528 (S.D. Cal. 2011) (quoting In re Hydrogen Peroxide Antitrust Litig., 552
12    F.3d 305, 311–12 (3rd Cir. 2008)). In analyzing predominance, “the Court must first
13    examine the substantive issues raised by [p]laintiffs and second inquire into the proof
14    relevant to each issue.” Jimenez v. Domino’s Pizza, Inc., 238 F.R.D. 241, 251 (C.D. Cal.
15    2006). Additionally, in order to satisfy Rule 23(b)(3), “plaintiffs must show that
16    ‘damages are capable of measurement on a classwide basis.’” In re 5-Hour Energy Mktg.
17    & Sales Practices Litig., No. ML 13-2438 PSG (PLAx), 2017 WL 2559615, at *9 (C.D.
18    Cal. June 7, 2017) (quoting Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013)).
19          “For purposes of class certification, the . . . CLRA [is] materially indistinguishable.
20    [The] statute allows Plaintiffs to establish the required elements of reliance, causation,
21    and damages by proving that Defendant[ ] made what a reasonable person would
22    consider a material misrepresentation.” Forcellati v. Hyland’s, Inc., No. CV 12-1983-
23    GHK (MRWx), 2014 WL 1410264, at *9 (C.D. Cal. Apr. 9, 2014); see also Townsend v.
24    Monster Bev. Corp., 303 F. Supp. 3d 1010, 1043 (C.D. Cal. 2018). The same is
25    essentially true for Plaintiffs’ GBL causes of action. See Sharpe v. A&W Concentrate
26    Co., No. 19-CV-768 (BMC), 2021 WL 3721392, at *5 (E.D.N.Y. July 23, 2021) (noting
27    that the element of materiality raises common questions, and “the centrality of those
28    questions is strong evidence of predominance).


                                                   -10-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB          Document 120     Filed 09/16/24   PageID.4484    Page
                                              11 of 18


 1          Here, Defendant argues there is no predominance because (1) Plaintiffs cannot
 2    show that the disputed claims were material, (2) Plaintiffs cannot show classwide
 3    deception/reliance, and (3) Plaintiffs fail to present a proper damages model. Doc. No.
 4    96 at 20–30. The Court addresses each argument in turn.
 5                 a.      Materiality
 6          Defendant argues that Plaintiffs cannot establish predominance because they
 7    cannot show that Defendant’s alleged misrepresentation—using the word “natural” on its
 8    gummy vitamin bottles that contain synthetic ingredients—was material to a reasonable
 9    consumer, a required element of each of Plaintiffs’ causes of actions. Doc. No. 96 at 23–
10    26; see also Kosta v. Del Monte Foods, Inc., 308 F.R.D. 217, 224 (N.D. Cal. 2015).
11          “A representation is ‘material’ . . . if a reasonable consumer would attach
12    importance to it or if the maker of the representation knows or has reason to know that its
13    recipient regards or is likely to regard the matter as important in determining his choice
14    of action.” Id. (citing Hinojos v. Kohl’s Corp., 718 F.3d 1098, 1107 (9th Cir. 2013), as
15    amended on denial of reh’g and reh’g en banc (July 8, 2013)) (internal quotation marks
16    omitted). “[P]laintiffs must offer some means of providing materiality and reliance by a
17    reasonable consumer on a classwide basis in order to certify a class.” Del Monte Foods,
18    308 F.R.D. at 225.
19          Here, Plaintiffs offer several means of showing materiality, including Named
20    Plaintiffs’ depositions, internal documents from Defendant, and a materiality survey from
21    one of Plaintiffs’ experts, Dr. Andrea Lynn Matthews. Doc. No. 90-1 at 22. Although
22    Defendant argues “Plaintiffs’ own testimony makes clear that the word ‘Natural’ is not
23    material to them when they make purchasing decision,” the Court agrees with Plaintiffs
24    that both Drake and Bowling testified in their depositions that they bought the Products
25    because the label had the word “natural” on them. See Doc. Nos. 110-6 at 2–3; 110-7 at
26    2–3. As to Defendant’s internal documents, Plaintiffs include emails from Defendant’s
27    marketing team and its “senior brand manager” indicating that Defendant had discussions
28    on whether to include the word “natural” on its labels. For example, Defendant’s senior


                                                   -11-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB       Document 120        Filed 09/16/24   PageID.4485     Page
                                           12 of 18


 1    brand manager stated in an email that the “Regulatory [department] did not support” the
 2    use of the word “natural” on the labels “based on the presence of vitamins (which are
 3    synthetic) in the formula.” Doc. No. 88-3 at 2. In another email, Defendant’s vice
 4    president of marketing mentioned that she “would keep [the word “natural”] to test . . .”
 5    because “[c]onsumers loved those words . . .” Doc. No. 88-4 at 2. In opposition,
 6    Defendant argues that Plaintiffs “misrepresent the views” of its regulatory department.
 7    Doc. No. 96. Based on its review of Plaintiffs’ evidence, the Court finds that at this
 8    juncture, Defendant’s internal documents support that a reasonable consumer would
 9    attach importance to the claims at issue, and that Defendant knew that its consumers
10    would regard these claims as important, which renders these claims material.
11          As to Plaintiffs’ expert, Defendant argues that Dr. Matthews’s survey is flawed and
12    that its own expert report from Dr. Ran Kivetz “proves that the word ‘Natural’ on the
13    [P]roducts’ label is not material to consumers.” Doc. No. 96 at 24. At this stage in the
14    proceedings, the Court agrees with Plaintiffs that Defendant’s attacks on Plaintiffs’ expert
15    presents common questions that cannot be resolved at this juncture and do not preclude
16    certification. In re JUUL Labs, Inc., Mktg. Sales Pracs. & Prod. Liab. Litig., 609 F.
17    Supp. 3d 942, 958 (N.D. Cal. 2022). Indeed, the Court finds that Defendant’s arguments
18    hinge on a classic “battle of the experts” that must be resolved by the trier of fact.
19          Accordingly, the Court finds that Plaintiffs have presented sufficient evidence to
20    establish materiality at this stage of the proceedings.
21                 b.     Reliance
22          Next, Defendant argues that Plaintiffs cannot show predominance because
23    Plaintiffs cannot show that there is a common, classwide interpretation of each disputed
24    claim, such that individualized inquiries into how each consumer interpreted the claims
25    are not necessary. As noted above, this inquiry is intertwined with the question of
26    materiality for CLRA and GBL claims. See In re ConAgra Foods, Inc., 302 F.R.D. 537,
27    576–77 (C.D. Cal. 2014) (“[I]f a misrepresentation is not material as to all class
28    members, the issue of reliance ‘var[ies] from consumer to consumer,’ and no classwide


                                                   -12-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB       Document 120        Filed 09/16/24   PageID.4486    Page
                                           13 of 18


 1    inference arises.”); Thurston v. Bear Naked, Inc., No. 3:11-CV-02890-H, 2013 WL
 2    5664985, at *8 (S.D. Cal. July 30, 2013).
 3          While Defendant argues that Plaintiffs have failed to present expert testimony or
 4    survey evidence showing uniform interpretation of each claim, Plaintiffs have established
 5    materiality, and in doing so, have offered evidence that the “natural” representation on
 6    the Products’ labels was intended to meet consumers’ desires. Because Plaintiffs have
 7    already established materiality of the claims as to all class members, this is sufficient to
 8    show that the issue of reliance does not vary from consumer to consumer. See ConAgra
 9    Foods, 302 F.R.D. at 576–77; see also Ehret v. Uber Techs., Inc., 148 F. Supp. 3d 884,
10    902 (N.D. Cal. 2015) (“Reliance can be established on a classwide basis by materiality.
11    In short, if the trial court finds that material misrepresentations have been made to the
12    entire class, an inference of reliance arises as to the class.”) (internal quotation marks
13    omitted).
14                 c.     Damages Model
15          The predominance inquiry “tests whether proposed classes are sufficiently
16    cohesive to warrant adjudication by representation.” Amchem Prod., Inc. v. Windsor, 521
17    U.S. 591, 623 (1997). As part of this inquiry, plaintiffs must demonstrate that “damages
18    are capable of measurement on a classwide basis.” Comcast, 569 U.S. at 34. Plaintiffs
19    must present a damages model consistent with their theory of liability—that is, a damages
20    model “purporting to serve as evidence of damages in this class action must measure only
21    those damages attributable to that theory.” Id. at 35. “Calculations need not be exact,”
22    id., nor is it necessary “to show that [the] method will work with certainty at this time,”
23    Khasin v. R. C. Bigelow, Inc., No. 12-CV-02204-WHO, 2016 WL 1213767, at *1 (N.D.
24    Cal. Mar. 29, 2016).
25          In cases involving deceptive claims, plaintiffs can satisfy the injury-in-fact
26    requirement by showing that they paid more for a product than they otherwise would
27    have paid (e.g., a price premium), or that they would not have purchased a product at all
28    absent the deceptive claims. See Mazza, 666 F.3d at 595.


                                                   -13-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB       Document 120        Filed 09/16/24   PageID.4487     Page
                                           14 of 18


 1          As an initial matter, it should be noted that “class wide damages calculations under
 2    the CLRA are particularly forgiving[,]” because “California law requires only that some
 3    reasonable basis of computation of damages be used, and the damages may be computed
 4    even if the result reached is an approximation.” Nguyen v. Nissan N. Am., Inc., 932 F.3d
 5    811, 818 (9th Cir. 2019) (cleaned up). Here, Plaintiffs’ theory of liability in this case is
 6    that Defendant misrepresented that the Products are “natural” even though they contain
 7    synthetic ingredients, and that this alleged misrepresentation caused consumers to pay a
 8    higher price for the Products. Doc. No. 90-1 at 24; see, e.g., McMorrow v. Mondelez
 9    Int’l, Inc., 2021 WL 859137, *6 (S.D. Cal. 2021) (“Plaintiffs’ action is a classic
10    mislabeling case, and their allegation is that the defendant’s mislabeling of the Products
11    caused Plaintiffs and the putative class members to pay more than they would have if the
12    Products were properly labeled.”). As a method for measuring class-wide damages,
13    Plaintiffs point to their expert Dr. William Ingersoll’s proposed “choice-based conjoint
14    survey methodology,” which will “measure the value of an individual product attribute,
15    such as a specific understanding of the label” and in turn will help “determine the price
16    premium attributable” to the label claims. Doc. No. 90-1 at 24.
17          Conjoint surveys, like the one proposed by Plaintiffs’ expert, are a well-established
18    method for measuring class-wide damages in mislabeling cases. See, e.g., Bailey v. Rite
19    Aid Corp., 338 F.R.D. 390, 409 (N.D. Cal. 2021) (“In mislabeling cases where the injury
20    suffered by consumers was in the form of an overpayment resulting from the alleged
21    misrepresentation at issue, . . . courts routinely hold that choice-based conjoint models
22    that are designed to measure the amount of overpayment satisfy Comcast’s
23    requirements.”); Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1110 (N.D. Cal.
24    2018) (noting that “[i]t is well-established that the ‘price premium attributable to’ an
25    alleged misrepresentation on product labeling or packaging is a valid measure of damages
26    in a mislabeling case under the [ ] CLRA,” and that “conjoint analysis is widely-accepted
27    as a reliable economic tool for isolating price premia”) (quoting Brazil v. Dole Packaged
28    Foods, LLC, 660 F. App’x 531, 534 (9th Cir. 2016); Briseno v. ConAgra Foods, Inc., 674


                                                   -14-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB       Document 120        Filed 09/16/24   PageID.4488    Page
                                           15 of 18


 1    F. App’x 654, 657 (9th Cir. 2017) (recognizing that a “conjoint analysis to segregate the
 2    portion of th[e] premium attributable to” a contested label claim was a “well-established
 3    damages model [ ]”); Krommenhock v. Post Foods, LLC, 334 F.R.D. 552, 575 (N.D. Cal.
 4    2020) (“[C]onjoint surveys and analyses have been accepted against Comcast and
 5    Daubert challenges by numerous courts in consumer protection cases challenging false or
 6    misleading labels.”); McMorrow, 2021 WL 859137, at *14 (finding that the plaintiff’s
 7    proposed conjoint survey, which would “isolate and measure the price premium attached
 8    only to the term ‘nutritious,’” satisfied Comcast).
 9          Relevant here, Defendant criticizes Dr. Ingersoll’s proposed model because his
10    conjoint analysis has not been applied yet to the proposed classes and because his report
11    refers to “natural ingredients” rather than “natural vitamins.” Doc. No. 96 at 28–29.
12    First, the Court agrees with Plaintiffs’ that the proposed model is sufficient even though it
13    does not inquire as to “natural vitamins.” Doc. No. 109 at 11. Indeed, Plaintiffs’ have
14    “always argued that the ‘natural’ label is deceptive because the Product[s] contain[ ]
15    synthetic ingredients.” Id.; see, e.g., SAC ¶¶ 2, 9, 12. Second, the Ninth Circuit has held
16    that “there is no general requirement that an expert actually apply to the proposed class
17    an otherwise reliable damages model in order to demonstrate that damages are
18    susceptible to common proof at the class certification stage.” Lytle v. Nutramax Lab’ys,
19    Inc., No. 22-55744, 2024 WL 3915361, at *2 (9th Cir. Aug. 23, 2024). In addition, the
20    Lytle Court held “that class action plaintiffs may rely on a reliable though not-yet-
21    executed damages model to demonstrate that damages are susceptible to common proof
22    so long as the district court finds that the model is reliable and, if applied to the proposed
23    class, will be able to calculate damages in a manner common to the class at trial.” Id.
24          Upon review of Plaintiffs’ proposed model, the Court is satisfied that Plaintiffs
25    have sufficiently shown that their proposed damages model is reliable and consistent with
26    their theory of liability under Comcast. See, e.g., Bailey, 338 F.R.D. at 409 (Plaintiffs’
27    proposed choice-based conjoint survey “seeks to measure the premium that consumers
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                                                   -15-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB         Document 120        Filed 09/16/24   PageID.4489     Page
                                             16 of 18


 1    paid, on average, as a result of the allegedly misleading conduct at issue and is therefore
 2    directly tied to the theory of liability in the case.”).
 3           For these reasons, the Court agrees with Plaintiffs that common questions of fact
 4    and law predominate over individualized inquiries, and will thus evaluate whether class
 5    litigation is a superior method to adjudicate this controversy.
 6           2.     Superiority
 7           The Court also agrees with Plaintiffs that a class action is superior to other
 8    available methods of adjudicating these issues. Judicial economy weighs in favor of a
 9    class action where, as here, liability turns on whether products’ labels were false or
10    misleading. Likewise, it would be economically infeasible for class members to pursue
11    their claims individually, since the expense of litigating the scientific adequacy of
12    Defendant’s claims would be exponentially larger than the small amount in controversy
13    for each individual consumer (around $11–$13 per purchase). See, e.g., Wiener, 255
14    F.R.D. at 671. It is far more efficient to resolve the common questions regarding
15    materiality and scientific substantiation in a single proceeding rather than to have
16    individual courts separately hear these issues. The Court therefore concludes that
17    Plaintiffs have met all the requirements of Rule 23(b)(3), as well as Rule 23(a).
18                                V. RULE 11 MOTIONS FOR SANCTIONS
19           Both parties have filed Rule 11 motions for sanctions. Doc. Nos. 104; 107.
20    Federal Rule of Civil Procedure 11 provides in pertinent part that “[b]y presenting to the
21    court a pleading, written motion, or other paper . . . an attorney . . . certifies that to the
22    best of the person’s knowledge, information, and belief, formed after an inquiry
23    reasonable under the circumstances . . . the factual contentions have evidentiary support.”
24    Fed. R. Civ. P. 11(b)(3). Rule 11 authorizes a court to sanction a party and the party’s
25    counsel for filing a pleading, written motion, or other paper lacking evidentiary support.
26    Fed. R. Civ. P. 11(c). The sanction may take many forms, including reasonable
27    attorney’s fees and expenses, but must “must be limited to what suffices to deter
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                                                     -16-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB        Document 120        Filed 09/16/24   PageID.4490    Page
                                            17 of 18


 1    repetition of the conduct or comparable conduct by others similarly situated.” Fed. R.
 2    Civ. P. 11(c)(4).
 3          Rule 11 sanctions are an extraordinary measure. Defendant argues that Plaintiffs’
 4    “class certification motion and class action complaint are frivolous” requiring dismissal
 5    of this case with prejudice and attorneys’ fees. Doc. No. 104-1 at 6–7. Given that the
 6    Court has denied two motions to dismiss in this case and has now granted class
 7    certification, the Court finds imposition of sanctions is not warranted, as this case is not
 8    frivolous. As discussed above, although Defendant contends that Plaintiffs’ expert report
 9    from Dr. Matthews is flawed, the Court finds that those arguments are better suited for
10    the trier of fact and that Plaintiffs presented other evidence sufficient to establish
11    materiality at this stage of the proceedings. Indeed, “neither the possibility that a plaintiff
12    will be unable to prove his allegations, nor the possibility that the later course of the suit
13    might unforeseeably prove the original decision to certify the class wrong, is a basis for
14    declining to certify a class which apparently satisfies.” Lytle, 2024 WL 3915361, at *7.
15    In addition, although the Court finds Plaintiffs’ counsel’s conduct disconcerting
16    regarding the original named plaintiff, the Court declines to impose sanctions with the
17    expectation that counsel will refrain from such conduct in the future.
18          In response to Defendant’s Rule 11 motion, Plaintiffs filed their own Rule 11
19    motion against Defendant and its counsel for improperly threatening sanction for tactical
20    purposes and for “knowingly misstating facts in signed filings with the Court.” Doc. No.
21    107-1 at 2. First, the Court does not find that Defendant brought its motion for sanctions
22    for an improper purpose. Second, the Court agrees with Defendant that Plaintiffs’
23    arguments regarding “misstating facts” in a deposition is not applicable to a Rule 11
24    motion for sanctions. See e.g., Patelco Credit Union v. Sahni, 262 F.3d 897, 913 (9th
25    Cir. 2011) (explaining “Rule 11(d) specifically exempts discovery motions and
26    objections from its procedural requirements.”); see also Christian v. Mattel, 286 F.3d
27    1118, 1131 (9th Cir. 2002) (reversing imposition of Rule 11 sanctions because the award
28    was based, in part, on discovery abuse).


                                                    -17-                       22-cv-1085-MMA (JLB)
     Case 3:22-cv-01085-MMA-JLB     Document 120       Filed 09/16/24   PageID.4491   Page
                                         18 of 18


 1          Therefore, the Court DENIES both parties’ motions for Rule 11 sanctions. Doc.
 2    Nos. 104; 107.
 3                                       VI. CONCLUSION
 4          For the foregoing reasons, the Court GRANTS Plaintiffs’ motion for class
 5    certification, Doc. No. 90, and DENIES the parties’ motions for sanctions, Doc. Nos.
 6    104, 107. In addition, the Court GRANTS the pending motions to seal, Doc. Nos. 87,
 7    94, 102, and 108. Accordingly, it is hereby ORDERED that Document Numbers 88–89,
 8    95, 103, and 109 shall remain under seal as proposed documents.
 9          As stated in U.S. Magistrate Judge Jill L. Burkhardt’s November 1, 2023 Order,
10    Doc. No. 81, the parties are ORDERED to contact Judge Burkhardt’s chambers no later
11    than September 19, 2024 to request another Case Management Conference.
12          IT IS SO ORDERED.
13    Dated: September 16, 2024
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                                                -18-                       22-cv-1085-MMA (JLB)
